   Case 19-50012     Doc 208     Filed 08/29/19    EOD 08/29/19 15:17:20     Pg 1 of 15



                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION



                                           )
In re:                                     )      Chapter 11
                                           )
USA GYMNASTICS,                            )      Case No. 18-09108-RLM-11
                                           )
                    Debtor.                )
                                           )
USA GYMNASTICS,                            )
                                           )
                    Plaintiff,             )
           v.                              )      Adv. Case No. 19-50012
                                           )
ACE AMERICAN INSURANCE                     )      RELIEF IS SOUGHT FROM A
COMPANY f/k/a CIGNA INSURANCE              )      UNITED STATES DISTRICT JUDGE
COMPANY, GREAT AMERICAN                    )
ASSURANCE COMPANY, LIBERTY                 )
INSURANCE UNDERWRITERS INC.,               )
NATIONAL CASUALTY COMPANY,                 )
RSUI INDEMNITY COMPANY, TIG                )
INSURANCE COMPANY, VIRGINIA                )
SURETY COMPANY, INC. f/k/a                 )
COMBINED SPECIALTY INSURANCE               )
COMPANY, WESTERN WORLD                     )
INSURANCE COMPANY, ENDURANCE               )
AMERICAN INSURANCE COMPANY,                )
AMERICAN INTERNATIONAL GROUP,              )
INC., AMERICAN HOME ASSURANCE              )
COMPANY, AND DOE INSURERS,                 )
                                           )
                   Defendants.             )
                                           )


 JOINDER TO RENEWED MOTION OF ACE AMERICAN INSURANCE COMPANY,
   F/K/A CIGNA INSURANCE COMPANY AND TIG INSURANCE COMPANY TO
     WITHDRAW THE REFERENCE AND RENEWED MOTION OF LIBERTY
                    INSURANCE UNDERWRITERS, INC.
     TO WITHDRAW THE REFERENCE OF THE ADVERSARY PROCEEDING




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    Case 19-50012      Doc 208     Filed 08/29/19     EOD 08/29/19 15:17:20        Pg 2 of 15



       Liberty Insurance Underwriters Inc. (“LIU”) by and through its undersigned counsel,

hereby files this Joinder to Renewed Motion of ACE American Insurance Company, f/k/a Cigna

Insurance Company and TIG Insurance Company to Withdraw the Reference and Renewed

Motion to Withdraw the Reference of the Adversary Proceeding (the “Renewed Motion and

Joinder”), and, pursuant to 28 U.S.C. § 157(d), Rule 5011(a) of the Federal Rules of Bankruptcy

Procedure, and Local Bankruptcy Rule B-5011-1, hereby requests that the District Court

withdraw the reference of the above-captioned adversary proceeding (the “Adversary

Proceeding”) filed by USA Gymnastics (“USAG”) against LIU and its co-defendants

(collectively, the “Insurer Defendants”). LIU joins in the relief requested in the Renewed

Motion to Withdraw the Reference of the Adversary Proceeding [Bankr. Adv. Pro. Docket No.

192], filed on August 20, 2019 by AAIC and TIG (as defined therein) (the “AAIC/TIG Motion

to Withdraw Reference”)1 and, in further support thereof, respectfully states as follows:

                     BACKGROUND AND PROCEDURAL HISTORY

       1.      On March 5, 2019, LIU and its co-Insurer Defendants filed their Joint Motion to

Withdraw the Reference of the Adversary Proceeding [Bankr. Adv. Pro. Docket No. 37]2 (the

“Original Motion to Withdraw Reference”) in the Bankruptcy Court.

       2.      Prior to a hearing on the Original Motion to Withdraw Reference, USAG and the

Insurer Defendants other than LIU (the “Non-LIU Insurers”) agreed to stay the Adversary

1
       LIU joins in the relief requested in the AAIC/TIG Motion to Withdraw Reference, as
       well as the arguments set forth therein. However, LIU was never subject to the Stay
       Order (as defined below). As such, LIU takes no position concerning the Debtor’s
       purported conduct respecting that Order that are detailed in the AAIC/TIG Motion to
       Withdraw Reference.
2
       As used herein, [Bankr. Adv. Pro. Docket No. __] shall refer to filings made in the
       Adversary Proceeding currently pending before the Bankruptcy Court for the Southern
       District of Indiana (Case No. 19-50012). References to [Docket No. __] shall refer to
       filings made before the District Court in the civil action styled Case No. 18-cv-09108-
       RLM-11 (the “Civil Action”).


                                                2
   Case 19-50012       Doc 208      Filed 08/29/19    EOD 08/29/19 15:17:20         Pg 3 of 15



Proceeding.   The agreement between USAG and the Non-LIU Insurers was subsequently

memorialized when, on June 7, 2019, the Bankruptcy Court entered the Agreed Order Granting

Motion for Stay on an Interim Basis with Respect to Non-LIU Defendants [Bankr. Adv. Pro.

Docket No. 155] (the “Stay Order”).

       3.      USAG did not agree to stay the Adversary Proceeding as it relates to LIU.

Consequently, LIU, after being denied its request for a stay in the Bankruptcy Court, sought a

stay with the District Court based on its understanding that USAG would seek to have the USA

Gymnastics’ Motion for Partial Summary Judgment [Bankr. Adv. Pro. Docket No. 26] and the

Cross-Motion for Summary Judgment of Defendant Liberty Insurance Underwriters Inc. [Bankr.

Adv. Pro. Docket No. 130] (collectively, the “LIU Summary Judgment Motions”) heard at the

June 12, 2019 omnibus hearing in the Bankruptcy Court (the “June Omnibus Hearing”).

       4.      The District Court held a telephonic conference on June 10, 2019 (the “Status

Conference”) to discuss the status of pending motions. At the Status Conference, the parties

reported to the Court, among other things, that (i) the LIU Summary Judgment Motions had not

yet been scheduled to be heard at the June Omnibus Hearing, (ii) USAG and the Non-LIU

Insurers had agreed to a voluntary stay of the Adversary Proceeding, solely with respect to them,

which included the Non-LIU Insurers’ agreement to not prosecute the Original Motion to

Withdraw Reference pending termination of the stay, and (iii) all parties were scheduled to

participate in the mediation sessions that are being conducted by Judge Gregg Zive (the

“Mediation”). See Notice of Order on Mediation [Docket No. 90].

       5.      Given the parties’ representations, on June 11, 2019, the District Court entered the

following ruling (its “Ruling”) on its docket:


       ORDER ON DEFENDANTS’ JOINT MOTION TO WITHDRAW THE
       REFERENCE OF THE ADVERSARY PROCEEDING, LIBERTY


                                                 3
    Case 19-50012     Doc 208    Filed 08/29/19    EOD 08/29/19 15:17:20       Pg 4 of 15



       INSURANCE UNDERWRITERS INC.’S RENEWED MOTION FOR STAY OF
       THE ADVERSARY PROCEEDING, AND LIBERTY INSURANCE
       UNDERWRITERS INC.’S MOTION TO SCHEDULE AN EXPEDITED
       HEARING ON RENEWED MOTION FOR STAY OF THE ADVERSARY
       PROCEEDING – Defendants’ Joint Motion to Withdraw the Reference of the
       Adversary Proceeding is DENIED at this time. If the case does not settle,
       Defendants may renew the motion. LIU’s Renewed Motion for Stay of the
       Adversary Proceeding is DENIED. LIU’s Motion to Schedule an Expedited
       Hearing on Renewed Motion for Stay of the Adversary Proceeding is DENIED as
       MOOT. SEE ORDER. Signed by Judge Richard L. Young on 6/11/2019. (JRB)
       (Entered: 06/11/2019)

Ruling, Docket No. 101 (emphasis added).

       6.     Mediation sessions with Judge Zive are on-going. Despite the parties’ continued

effort to mediate their dispute, on August 7, 2019, the Debtor filed its Notice of Continued

Hearing [Bankr. Adv. Pro. Docket No. 171], rescheduling the LIU Summary Judgment Motions

for a hearing on September 18, 2019, which hearing has since been rescheduled to September 17,

2019 [Bankr. Adv. Pro. Docket No. 181].3

       7.     Despite the on-going Mediation, USAG has chosen to proceed with the Pending

Summary Judgment Motions. Accordingly, consistent with the District Court’s Ruling, LIU

hereby files its Renewed Motion and Joinder and requests that it be heard in advance of the

September 17 hearings on the Pending Summary Judgment Motions. Given, among other things,

the non-core nature of the Adversary Proceeding, the inefficiencies that would be produced by

having two courts hear the Pending Summary Judgment Motions, and the fact that LIU has

demanded a jury trial (which the Bankruptcy Court cannot conduct absent LIU’s consent), LIU

respectfully submits that time is ripe to hear—and grant—its Renewed Motion and Joinder.




3
       As set forth in the AAIC/TIG Motion to Withdraw Reference, USAG has also scheduled
       hearings on its summary judgment motions filed against AAIC and TIG (such motions,
       together with the LIU Summary Judgment Motions, the “Pending Summary Judgment
       Motions”).


                                              4
     Case 19-50012     Doc 208      Filed 08/29/19     EOD 08/29/19 15:17:20        Pg 5 of 15



                                          ARGUMENT

I.      LIU Has Satisfied Its Burden To Show The Reference To
        The Bankruptcy Court Should Be Withdrawn “For Cause.”

        8.     The Adversary Proceeding is a non-core proceeding based on state law causes of

action that were previously brought before the District Court in the Civil Action. As was the

case prior to the bankruptcy filing, the claims asserted against the Insurer Defendants sound in

law, not equity, meaning the Insurer Defendants are entitled to a jury trial. LIU has already

made such a demand. The Bankruptcy Court cannot conduct that jury trial absent consent of all

parties, which LIU has not and will not provide. USAG has objected to the Insurer Defendants’

request to withdraw the reference based on, among other reasons, that a jury trial is a “distant

and speculative” proposition.4    Even if the District Court were to ignore the fact that the

Insurance Defendants are entitled to—and LIU has demanded—a jury trial, USAG has chosen to

push ahead by scheduling a hearing on the Proposed Summary Judgment Motions. When an

adversary proceeding finds itself at an inflection point requiring an ultimate decision—for

example, where, as here, dispositive motions have been filed that will require review by both the

bankruptcy and district courts—removal of the reference and transfer of the adversary

proceeding to the district court is warranted. See Adelsperger v. 3D Holographics Med. Imaging

Inc., Case No. 3:16-CV-759, 2019 U.S. Dist. LEXIS 85792, at *9-10 (N.D. Ind. May 21, 2019).

        9.     When evaluating whether “cause” exists to grant a motion for permissive

withdrawal of the reference, courts consider the following factors:
4
        LIU disputes this characterization of a jury trial being “distant and speculative.” By way
        of example, potential disputed issues of fact requiring a jury trial could include: (i) when
        the Claim was “first made” under the LIU issued policy; (ii) the underwriting intent
        regarding the LIU policy’s third party liability coverage; (iii) whether any complaints or
        demands involving Larry Nassar were reported or noticed under a prior insurance policy;
        and (iv) whether any demand, suit or other proceeding involving Larry Nassar was made
        against any insured prior to the LIU policy’s prior litigation date.



                                                 5
   Case 19-50012       Doc 208      Filed 08/29/19     EOD 08/29/19 15:17:20         Pg 6 of 15



               (1) judicial economy, convenience, and the particular court’s
               knowledge of the facts; (2) the promotion of uniformity and
               efficiency of bankruptcy administration; (3) the reduction of forum
               shopping and confusion; (4) conservation of debtor and creditor
               resources; (5) whether the proceeding is core or non-core; and (6)
               whether the parties have requested a jury trial. The most
               important factor is whether a proceeding is core or non-core.

Levin v. FDIC, Case Nos. 1:11-cv-704-WTL-TAB; 1:11-cv-705-WTL-TAB, 2012 U.S. Dist.

LEXIS 6682, at *7 (S.D. Ind. Jan. 19, 2012) (internal citation omitted) (emphasis added); see

Wellman Thermal Sys. Corp. v. Columbia Casualty Co., Case No. 1:05-cv-1191, 2005 U.S. Dist.

LEXIS 45725, at *10 (S.D. Ind. Oct. 5, 2005) (acknowledging that “whether the proceeding is

core or non-core is the most important factor when deciding whether to withdraw the

reference”). The right to a jury trial—which has been demanded by LIU—also serves as an

independent basis for withdrawing the reference, especially where, as here, the proceeding is

non-core. See Adelsperger, 2019 U.S. Dist. LEXIS 85792, at *8-9 (“[T]he right to a jury trial is

sufficient cause to withdraw the reference to the bankruptcy court. . . . Because the bankruptcy

court cannot conduct this trial, cause exists to withdraw the reference of the adversary

proceeding.”); Caruso v. Modany, Case No. 1:18-cv-02182-JPH-TAB, 2019 U.S. Dist. LEXIS

2346, at *3 (S.D. Ind. Jan. 7, 2019) (“[A] bankruptcy judge may conduct a jury trial only with

the express consent of all the parties. Thus, if one of the parties files a jury demand, and all

parties do not consent to a jury trial in the bankruptcy court, cause for withdrawal is

established.”) (internal citation omitted).    Moreover, when the proceeding is non-core, a

bankruptcy court hearing any dispositive motion can only propose findings of facts and

conclusions of law that are subject to de novo review by the district court. Adelsperger, 2019

U.S. Dist. LEXIS 85792, at *9-10. Thus, where the proceedings have progressed to a hearing on

a dispositive motion, it is inefficient for the proceeding to remain with the bankruptcy court. Id.,

at *5 (determining that it would not “be judicially efficient to [have the bankruptcy court] make


                                                 6
      Case 19-50012    Doc 208      Filed 08/29/19     EOD 08/29/19 15:17:20         Pg 7 of 15



recommendations, including for purposes of ruling on dispositive motions, only to have another

court conduct de novo review”).

         10.   The standards governing LIU’s renewed request are set forth in, and satisfied by,

the Original Motion to Withdraw Reference, the Insurer Defendants’ Reply to USA Gymnastics’

Objection to Defendants’ Joint Motion to Withdraw Reference of the Adversary Proceeding

[Bankr. Adv. Pro. Docket No. 91], and the AAIC/TIG Motion to Withdraw Reference. The facts

and arguments set forth in those pleadings are expressly incorporated herein by reference, and

LIU joins in the request for relief set forth in the AAIC/TIG Motion to Withdraw Reference.

Through the Renewed Motion and Joinder, LIU seeks to highlight certain analogous situations

where district courts within this Circuit chose to withdraw the reference.         Furthermore, as

discussed below, the time is ripe for withdrawal prior to any hearing on the Pending Summary

Judgment Motions.

II.      District Courts Within This Circuit Have Withdrawn The Reference
         Of Non-Core Cases When There Are Pending Dispositive Motions.

         11.   With respect to the “most important factor” courts consider when analyzing a

motion to withdraw the reference (see Levin, 2012 U.S. Dist. LEXIS 6682, at *7), USAG

appears to concede that the Adversary Proceeding is non-core. See USA Gymnastics’ Objection

to Defendants’ Joint Motion to Withdraw the Reference of the Adversary Proceeding [Bankr.

Adv. Pro. Docket No. 76], at 6-8.         USAG argues, however, that, even if the Adversary

Proceeding is non-core, that is but one factor in the analysis, and, here, judicial efficiency weighs

against withdrawing the reference at this time. Id. at 8-12.

         12.   As set forth in the Original Motion to Withdraw Reference and the reply filed in

support thereof, there can be no dispute that the Adversary Proceeding is non-core, meaning the

Bankruptcy Court cannot enter a final Order disposing of the Pending Summary Judgment



                                                 7
   Case 19-50012       Doc 208     Filed 08/29/19     EOD 08/29/19 15:17:20        Pg 8 of 15



Motions. Nor is there any debate that the Insurer Defendants are entitled to assert—and LIU has

asserted—a demand for a jury trial, which the Bankruptcy Court cannot conduct without the

consent of all parties. Finally, USAG has chosen to schedule the Pending Summary Judgments

for a hearing, meaning the Bankruptcy Court will now be forced to hear those motions, draft

proposed findings of fact and conclusions of law, and transmit that proposal to the District Court

for de novo review. The multi-step process would not advance resolution of the bankruptcy case,

nor would it conserve the parties’ resources. Both considerations are part of a court’s analysis

when weighing whether to grant a request to withdraw the reference. On the contrary, that

process would delay entry of any Order adjudicating the dispute, as there is no rule setting a

requirement for when the Bankruptcy Court must issue its proposal or for when the District

Court must review and rule on that proposal. As illustrated by the decisions discussed below,

judicial efficiency dictates that the Renewed Motion and Joinder be granted and the Adversary

Proceeding be transferred to the District Court for a hearing on the Pending Summary Judgment

Motions.

       13.     In Wellman Thermal Systems, the District Court for the Southern District of

Indiana considered a motion to withdraw the reference filed by three insurers. The underlying

complaint that prompted that motion sought a declaratory judgment that the insurer-defendants

were obligated to defend the debtor against claims for environmental problems allegedly caused

by the debtor, to otherwise reimburse the debtor for the costs of the defense, and to indemnify

the debtor for environmental liability claims asserted against it. Wellman, 2005 U.S. Dist.

LEXIS 45725, at *4-5. The debtor also sought an award of damages for its costs in connection

with the environmental investigation and cleanup at the site. Id. The District Court concluded

that the claims were non-core and that the Bankruptcy Code was not the source of the debtor’s




                                                8
   Case 19-50012          Doc 208     Filed 08/29/19    EOD 08/29/19 15:17:20        Pg 9 of 15



rights or remedies against the defendant insurers, describing the damages claim as “a creature of

state breach of contract law that could be pursued as an ordinary breach of contract action if [the

debtor] were not in bankruptcy.” Id., at *10. The District Court ruled that the right to a jury trial

alone was sufficient cause to withdraw the reference to the bankruptcy court. Id., at *11 (citing

Matter of Grabill Corp., 967 F.2d 1152, 1156 (7th Cir.1992); and 1 Collier on Bankruptcy §

3.04[a][b] (16th ed. 2017) (listing right to a jury trial among reasons for withdrawal of

reference)).

       14.        In granting the defendant insurers’ motion to withdraw the reference, the District

Court in Wellman specifically explained:

       The Defendants have demanded a jury trial and assert that they will not consent to
       any final orders or judgment by the bankruptcy court. Wellman responds that the
       case is not yet ready for trial, so withdrawal of reference at this time would be
       premature. Though insurance coverage cases sometimes are decided at the
       summary judgment stage and the interpretation of an insurance policy clearly is a
       legal question for the court, it does appear that in this case there may be genuine
       issues of fact necessitating trial. Certain efficiencies would be lost were the
       bankruptcy court to proceed with pretrial matters; the district court would not gain
       a valuable familiarity with the case that could assist it leading up to and through
       trial. Though the bankruptcy court could issue proposed findings of fact and
       conclusions of law, 28 U.S.C. § 157(c)(1), in the court’s view, considerations of
       judicial economy favor withdrawal of the reference.

Id., at *11-12.

       15.        An adversary proceeding that is non-core need not be “trial ready” in order for

withdrawal of the reference to be appropriate. As recent decisions in this Circuit demonstrate,

when dispositive motions have been filed and are scheduled for a hearing, judicial efficiency is

served by removing such proceedings to the district court. In Adelsperger, Judge Brady granted

the defendants’ motion to withdraw the reference and transfer the matter from the bankruptcy

court prior to a proposed hearing on pending partial summary judgment motions. The district

court was persuaded by the bankruptcy court’s recommendation that it would be inefficient for



                                                  9
  Case 19-50012        Doc 208      Filed 08/29/19      EOD 08/29/19 15:17:20        Pg 10 of 15



the bankruptcy court to propose findings of fact and conclusions of law that would then be

subject to de novo review by the district court. The bankruptcy court explained:

       In litigation as involved as this adversary proceeding is, this court cannot see any
       judicial economy in the preparation of proposed findings of fact and conclusions
       of law as to non-core matters that will be subject to de novo review by another
       court. There is no economy in two judicial officers reviewing the same facts and
       law. Not only is such a procedure inefficient, but it also opens the door to
       contradictory conclusions by different judges.

Adelsperger v. 3D Holographics Med. Imaging Inc., Case No. 3:16-CV-759, ECF. No. 1, at 36

(Bankr. N.D. Ind.); see Caruso, 2019 U.S. Dist. LEXIS 2346, at *4-5 (“Asking the bankruptcy

court to familiarize itself with the issues for all pretrial motions, only to handoff the case when it

comes to final adjudication, would result in duplication of work and this would be an inefficient

allocation of judicial resources.”); Travelers Ins. Co. v. Goldberg, 135 B.R. 788, 792-93 (D. Md.

1992) (bankruptcy court handling pre-trial matters, including dispositive motions, is a “limited

and inefficient tool” because of de novo review).

       16.     In its recommendation, the bankruptcy court in Adelsperger reasoned that “the

district court is at least as familiar with the circumstances surrounding” the debtors’ estate based

on other civil cases involving the debtors pending before federal court. Adelsperger, 2019 U.S.

Dist. LEXIS 85792, at *10. Here, that fact is even more evident. As discussed in greater detail

in the Original Motion to Withdraw Reference at pages 15-17, the Adversary Proceeding is

virtually identical to the Civil Action which the District Court presided over prior to the

commencement of the Adversary Proceeding.             Indeed, the District Court previously issued

Orders setting an initial pre-trial conference [Docket No. 38] and lifting a stay and setting

deadlines for the filing of a draft case management plan [Docket No. 46].               To date, the

Bankruptcy Court has not issued any scheduling orders, and no discovery has taken place.




                                                 10
  Case 19-50012        Doc 208     Filed 08/29/19     EOD 08/29/19 15:17:20         Pg 11 of 15



       17.     Finally, USAG relies on one principal case in its opposition to the Original

Motion to Withdraw Reference—Gecker v. Marathon Financial Insurance Company, 391 B.R.

613, 615-16 (N.D. Ill. 2008)—for the proposition that a party’s right to a jury trial involving non-

core matters is not sufficient to withdraw the reference unless it promotes judicial economy. The

changed circumstances that have prompted the filing of this Renewed Motion and Joinder show

that Gecker actually supports withdrawal of the reference and transfer to the District Court.

       18.     In Gecker, the district court recognized the well-established principle that “[t]he

most important factor is whether a proceeding is core or non-core, because efficiency, uniformity

and judicial economy concerns are largely subsumed within it.” 391 B.R. at 615. The Gecker

court found that “at least four” of the claims at issue were non-core, and the defendant had a

right to jury trial on its claims. Id. However, the court in Gecker was convinced that judicial

economy militated against withdrawal of the reference, “at least at this stage of the case.” Id.

Chief among the court’s reasoning was that any jury trial that the defendants demanded “remains

a distant and speculative prospect.” Id. at 615-16. However, the Gecker court explained that it

may be appropriate for that court to reconsider the relief requested at another point in time, and

not necessarily when the matter becomes “ready for trial.” Id. at 616. “[A] district court may be

inclined to withdraw the reference prior to the filing of dispositive motions on non-core claims in

order to avoid the inefficiency of two different judges ruling on essentially the same motion.” Id.

The Gecker court thus denied the motion to withdraw the reference “without prejudice to

renewing the motion if and when dispositive motions on non-core claims, or a jury trial, begin to

appear on the horizon.” Id.

       19.     Here, by USAG’s choosing, dispositive motions in the Adversary Proceeding

have “appear[ed] on the horizon.” Id. In fact, USAG filed a dispositive motion before LIU’s




                                                11
  Case 19-50012        Doc 208     Filed 08/29/19      EOD 08/29/19 15:17:20           Pg 12 of 15



deadline to file a responsive pleading. For the reasons set forth herein, in the Original Motion to

Withdraw Reference, the reply in support thereof, and the AAIC/TIG Motion to Withdraw

Reference, LIU respectfully submits that (i) cause exists to withdraw the reference of the

Adversary Proceeding to the Bankruptcy Court and (ii) the appropriate time to transfer the

Adversary Proceeding to the District Court has arrived.

                                         CONCLUSION

       For the foregoing reasons, LIU respectfully requests that the District Court (i) either (a)

schedule a hearing on the AAIC/TIG Motion to Withdraw Reference in advance of the hearing

on the Pending Summary Judgment Motions or (b) grant the AAIC/TIG Motion to Withdraw

Reference; and (ii) grant such other and further relief as it deems just and proper.

                                              Respectfully submitted,

Dated: August 27, 2019                        LIBERTY INSURANCE UNDERWRITERS INC.

                                              By its attorneys,

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                                                 12
  Case 19-50012      Doc 208      Filed 08/29/19   EOD 08/29/19 15:17:20        Pg 13 of 15



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                               CERTIFICATE OF SERVICE

I hereby certify that on August 29, 2019, a copy of the foregoing Joinder to Renewed Motion of
ACE American Insurance Company, f/k/a Cigna Insurance Company and TIG Insurance
Company to Withdraw the Reference and Renewed Motion of Liberty Insurance Underwriters,
Inc. to Withdraw the Reference of the Adversary Proceeding and was filed electronically. Notice
of this filing will be sent to the following parties through the Court’s Electronic Case Filing
System. Parties may access this filing through the Court’s system.

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                                              13
  Case 19-50012      Doc 208     Filed 08/29/19     EOD 08/29/19 15:17:20   Pg 14 of 15




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                                               14
   Case 19-50012    Doc 208   Filed 08/29/19   EOD 08/29/19 15:17:20     Pg 15 of 15




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